Case 10-93904-BHL-11         Doc 1088 Filed 03/13/12 EOD 03/13/12 14:41:53                Pg 1 of 1
                            SO ORDERED: March 13, 2012.




                            ______________________________
                            Basil H. Lorch III
                            United States Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 In re:                                           )
                                                  )
 EASTERN LIVESTOCK CO., LLC,                      )                 Case No. 10-93904-BHL-11
                                                  )
                        Debtor.                   )
                                                  )

                        ORDER ON MOTION TO ALTER OR AMEND

          This matter is before the Court on the motion [Doc. 1066] filed by Arcadia Stockyard, et
 al. pursuant to Fed. R. Bankr. P. 7052, 9023, and 9024, by which the movants ask the Court to
 reconsider its order [Doc. 379 in adversary proceeding 11-59093] partially disposing of the
 chapter 11 trustee’s motion for partial summary judgment [Doc. 248 in adversary proceeding 11-
 59093] in the related adversary proceeding captioned Friona Indus., LP v. E. Livestock Co.
 Having considered the foregoing and being otherwise duly and sufficiently advised, the Court
 DENIES the instant motion and supplements its previous order to clarify that the order shall not
 be final and appealable until the Court issues a subsequent order disposing of the portions of the
 trustee’s motion that have been deferred pending discovery.
          IT IS SO ORDERED.
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